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Debtor 1 Holly Ann Longardner

First Name Middle Name Last Name
Debtor 2
(Spouse if, filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: © NORTHERN DISTRICT OF INDIANA

 

Case number 22-10065

{if known)

 

HE Check if this is an
amended filing

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).

List All of Your PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims against you?
C1 No. Go to Part 2.

WM ves.

22. List all of your priority unsecured claims. lf a credi : ‘more than one ‘priority. unsecured claim, list the creditor separately for each claim. For each claim listed:
“identify what type of claim itis, ita claim has. both nonpriority amounts, list that claim here and stow ‘both priority and nonpriority amounts. As much as
possible, list the claims in alphabetical order according { the ‘creditor's'name. if you have more than wg priority unsecured claims, fl t. out the Ponmnnarion Page of

»Part apt more than one creditor holds.a Particular: claim, list the other creditors in. Part 3.

“(For-an explanation’ ofeach type of claim, see the instructions: for this formin thé instruction booklet)

    
   

Total claim Priority. “Nonpriority.

 

 

 

nee amount amount
INDIANA DEPARTMENT OF
2.4 REVENUE Last 4 digits of account number $0.00 $0.00 $0.00
Priority Creditor's Name
ATTN BANKRUPTCY When was the debt incurred? 2022 |
100 N SENATE AVE
INDIANAPOLIS, IN 46204-2253
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. oO Contingent
Debtor 1 only 0 unliquidated
CD Debtor 2 only . CG Disputed
CJ Debtor 1 and Debtor 2 only Type of PRIORITY unsecured claim:
C1 At least one of the debtors and another C1) Domestic support obligations

[J Check if this claim is fora community debt a Taxes and certain other debts you owe the government

 

 

Is the claim subject to offset? 0 claims for death or personal injury while you were intoxicated
HE No CZ other. Specify
C1 Yes State income taxes
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 1 of 14

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Debtor 1 Holly Ann Longardner

Case number (if known) 22-10065

 

~
[22 | Internal Revenue Service
Priority Creditor's Name

Centralized Insolvency Operation
PO Box 7346

Philadelphia, PA 19101-7346
Number Street City State Zip Code

Who incurred the debt? Check one.

Last 4 digits of account number $0.00 $0.00 $0.00

When was the debt incurred?

2022

As of the date you file, the claim is: Check all that apply
CO contingent
Oo Unliquidated

Oo Disputed
Type of PRIORITY unsecured claim:

W pebtor 1 only

CZ Debtor 2 onty

CJ Debtor 1 and Debtor 2 only

[1 At least one of the debtors and another C1 Domestic support obligations

OO Check if this claim is for a community debt
Is the claim subject to offset?

Mino

O yes

MM taxes and certain other debts you owe the government
CZ claims for death or personal injury while you were intoxicated

OO other. Specify

 

notice

 

List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
CJ No. You have nothing to report in this part. Submit this form to the court with your other schedules.

Mh ves.

4. List al of your nonpfiority. unsecured claims:in the alphabetical order of the creditor who holds Sach claim.if a ‘ereditor | has more than’one honpriority
us unsecured claim, list the creditor separately for each claim: For’each claim. listed, ‘identify what type of claim it is. Do not list claims already included in: Part 1..If more.
than one creditor holds a a Particular claim, list ihe other creditors | in Bark Sil you fave more then three bonprlonty, unsecured claims fill out the ontnuaten | Page of

 

 

 

 

 

 

Part 2. :
“Total claim é
4.4 | Allied Hospital Pathologists Last 4 digits of account number 3980 __ $200.00
Nonpriority Creditor's Name
4245 Reliable Pkwy When was the debt incurred? 2021
Chicago, IL 60686
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
@ debtor 1 only Oo Contingent
C1 Debtor 2 only CD Untiquidated
C] Debtor 1 and Debtor 2 only 0 Disputed
2 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is fora community Ci Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno DO Debts to pension or profit-sharing plans, and other similar debts
0 Yes WH other. Specify medical
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 2 of 14

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Debtor 1 Holly Ann Longardner Case number (if known) 22-10065 A
(42 APP of Indiana ED Last 4 digits of accountnumber 5120 _ $100.00

Nonpriority Creditor's Name
PO box 4458 Dept 873 When was the debt incurred? 2021
Houston, TX 77210
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
HH debtor 1 only Oo Contingent
Oi Debtor 2 only C1 unliquidated
CO Debtor 1 and Debtor 2 only 0 Disputed
CO atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
is the claim subject to offset? report as priority claims
Bino OD Debts to pension or profit-sharing plans, and other similar debts
0 yes MH other. Specify medical
Associated Anesthesiologists of

4.3 Fort Way Last 4 digits of accountnumber 8446 - $1 65.00
Nonpriority Creditor's Name
PO box 639846 When was the debt incurred? 2021
Cincinnati, OH 45263
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ME Debtor 1 only Oo Contingent
C debtor 2 only Db Unliquidated
C1 Debtor 1 and Debtor 2 only Oo Disputed
CO At east one of the debtors and another Type of NONPRIORITY unsecured claim:
(1 Check if this claim is fora community C1 student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
BiNno CO Debts to pension or profit-sharing plans, and other similar debts
C1 Yes MM other. Specify medical

44 Associated Pathologists Last 4 digits of accountnumber 0988 _____ $350.00
Nonpriority Creditor's Name
c/o Pathgroup When was the debt incurred? 2021
PO box 740858
Cincinnati, OH 45274
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Debtor 4 only C1 contingent
C1 Debtor 2 only Oo Uniiquidated
CZ Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is for a community C1 student loans
debt (J obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HE no CO Debts to pension or profit-sharing plans, and other similar debts
O Yes MI other. Specify medical

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 3 of 14

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Debtor 1 Holly Ann Longardner Case number (if known) 2210065
4.5 Beckman Lawson LLP Last 4 digits of account number 8749 ___ $0.00

Nonpriority Creditor's Name
201 West Wayne St When was the debt incurred? 2022
Fort Wayne, IN 46802
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only O Contingent
CO Debtor 2 only CD uUnliquidatea
C1 Debtor 1 and Debtor 2 only O Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community CI student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bi no CJ Debts to pension or profit-sharing plans, and other similar debts
C1 Yes MH other. Specify creditor rep

46 | Community Open MRI Last 4 digits of account number 2802 $200.00.
Nonpriority Creditor's Name
P.O. Box 501160 When was the debt incurred? 2021
Saint Louis, MO 63150
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
HF debtor 4 only C1 contingent
OD Debtor 2 only oO Unliquidated
CO Debtor 1 and Debtor 2 only oO Disputed
(1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C Check if this claim is fora community C1 Student loans
debt CZ Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino D Debts to pension or profit-sharing plans, and other similar debts
Cl ves Wl other. Specify medical

47 Direct Imaging Last 4 digits of account number __ $130.00
Nonpriority Creditor's Name
1355 Getz Rd, Ste B When was the debt incurred? 2021
Fort Wayne, IN 46804
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MM Debtor 1 only oO Contingent
C1 Debtor 2 only DO unliquidated
CZ Debtor 1 and Debtor 2 only Oo Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(1 Check if this claim is for a. community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C] Debts to pension or profit-sharing plans, and other similar debts
0 Yes MH other. Specify medical

Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 4 of 14

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Discover Card Srvs. Last 4 digits of accountnumber 2911 _____ $3,800.00
Nonpriority Creditor's Name
P.O. Box 15316 When was the debt incurred? 2015-2021
Wilmington, DE 19850
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
Mi Debior 1 only 0 Contingent
CZ Debtor 2 only D1 unliquidated
C1 Debtor 1 and Debtor 2 only DZ pisputed
CZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
CJ Check if this claim is for a community C1] Student loans
debt O Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino C1 Debts to pension or profit-sharing plans, and other similar debts
O yes I other. Specify credit card

49 | Dupont Hospital Last 4 digits of account number 5546 $2,800.00
Nonpriority Creditor's Name
15682 Collections Ctr Dr When was the debt incurred? 2019
Chicago, IL 60693
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ME pebtor 1 only Oo Contingent
Cl Debtor 2 only Go Unliquidated
CQ Debtor 1 and Debtor 2 only C1 Disputed
CO at least one of the debtors and another Type of NONPRIORITY unsecured claim:
D1 Check if this claim is for a community CI Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no O Debts to pension or profit-sharing plans, and other similar debts
C1 Yes WM other. Specify medical

4.1

0 Fort Wayne Neurology Last 4 digits of accountnumber 8749 $1,950.00
Nonpriority Creditor's Name
2510 East Dupont Road, #226 When was the debt incurred? 2020
Fort Wayne, IN 46825
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one. ,
MF debtor 4 only 1 Contingent
OD Debtor 2 only oO Unliquidated
C1 Debtor 1 and Debtor 2 only Oo Disputed
1 At east one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1] student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Hino CZ Debis to pension or profit-sharing plans, and other similar debts
0 yYes WI other. Specify medical

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44 .
1 Fort Wayne Radiology Last 4 digits of account number 0791 ee $1 50.00
Nonpriority Creditor's Name
3707 New Vision Drive When was the debt incurred? 2021
Fort Wayne, IN 46845
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only 0 Contingent
O Debtor 2 only oO Untiquidated
O Debtor 1 and Debtor 2 only Oo Disputed
CO Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
Check if this claim is fora community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a CZ Debts to pension or profit-sharing plans, and other similar debts
No Pi
oO Yes E Other, Specify medical
4.1 .
2 Helvey & Associates Last 4 digits of account number 0671 $0.00
Nonpriority Creditor's Name
1015 E Center Street When was the debt incurred? 2021
Warsaw, IN 46580
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
WH bebtor 4 only O Contingent
[1 Debtor 2 only Oo Unliquidated
Al Debtor 1 and Debtor 2 only Oo Disputed
DZ Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C] Check if this claim is fora community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bno 0 Debts to pension or profit-sharing plans, and other similar debts
O Yes Ml other. Specify collection
4.1 . .
3 Hoosier Physical Therapy Last 4 digits of account number 5503 __ $41 00
Nonpriority Creditor's Name '
PO Box 350034 When was the debt incurred? 2021
Toledo, OH 43635
Number Street City State Zip Code As of the date you file, the claim is: Check alf that apply
Who incurred the debt? Check one.
debtor 1 only oO Contingent
CZ Debtor 2 only O Unliquidated
CO Debtor 4 and Debtor 2 only O Disputed
[1 At teast one of the debtors and another Type of NONPRIORITY unsecured claim:
0 Check if this claim is fora community C1 student loans
debt 1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino C1 Debts to pension or profit-sharing plans, and other similar debts
O Yes Wi other. Specify medical
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4.1 .

4 Hospital Care Group PC Last 4 digits of accountnumber 0000 _ _ ___ $370.00.
Nonpriority Creditor's Name
6435 W Jefferson Blvd, PMB 109 When was the debt incurred? 2020
Fort Wayne, IN 46804
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
i Debtor 1 only C1 Contingent
CO Debtor 2 only D0 Unliquidated
D1 Debtor 4 and Debtor 2 only Oo Disputed
CO At least one of the debtors and another Type of NONPRIORITY unsecured claim:
Ci check if this claim is for a community CI student loans
debt CZ Obtigations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino O bebts to pension or profit-sharing plans, and other similar debts
C1 Yes WW other. Specify medical

44

5 Kroger (US Bank) Last 4 digits of account number 5590 _ $2,700.00
Nonpriority Creditor's Name
P.O. Box 790408 When was the debt incurred? 2015-2021
Saint Louis, MO 63179
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
a Debtor 4 only Oo Contingent
D1 pebtor 2 only oC Unliquidated
C Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(CJ Check if this claim is fora community C1 student loans
debt CO obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mi no CZ Debts to pension or profit-sharing plans, and other similar debts
Cl Yes MH other. Specify credit card

4.1 .

6 Lutheran Medical Group Last 4 digits of account number 2310 ___ $500.00
Nonpriority Creditor's Name
PO Box 74007060 When was the debt incurred? 2021
Chicago, IL 60674 ‘
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
Wi Debtor 4 only 0 Contingent
C1 Debtor 2 only 0D unliquidated
C1 Debtor 1 and Debtor 2 only O Disputed
OD Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community 1 Student toans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Bio 0 Debts to pension or profit-sharing plans, and other similar debts
O yes Wi other. Specify medical

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Debtor 1 Holly Ann Longardner Case number (if known) 22-10065

41

7 Money Matters Prof. Coll. Last 4 digits of account number $0.00
Nonpriority Creditor's Name
2250 Lake Avenue, #120 When was the debt incurred? 2022
Fort Wayne, IN 46805
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ME Debtor 1 only oO Contingent
CO Debtor 2 only CI unliquidated
D1 Debtor 1 and Debtor 2 only 0 pisputea
Cat least one of the debtors and another Type of NONPRIORITY unsecured claim:
C Cheek if this claim is fora community C] student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? teport as priority claims
Mino C] Debts to pension or profit-sharing plans, and other similar debts
Ci Yes WH other. specify collection

4.1

4 Noble County Treasurer Last 4 digits of account number _ _ __ $0.00

Nonpriority Creditor's Name
101 No. Orange St., #230 When was the debt incurred? 2022
Albion, IN 46701
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
BF pebtor 1 only CO contingent
CZ Debtor 2 only C1 unliquidated
CO Debtor 1 and Debtor 2 only oO Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C1 student loans
debt oO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims ,
Mi No C1 Debts to pension or profit-sharing plans, and other similar debts
C1 Yes HH other. Specify notice

41 wos

9 Northeast Internal Medicine Last 4 digits of account number 0409 _ $120.00
Nonpriority Creditor's Name
PO Box 236 When was the debt incurred? 2021
Lagrange, IN 46761
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wl pebtor 1 only C Contingent
C1] Debtor 2 only Oo Untiquidated
(C1 Debtor 1 and Debtor 2 only Oo Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is for a community C1 student loans
debt C1 Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims :
EENo CO Debts to pension or profit-sharing plans, and other similar debts
oO Yes Hn Other. Specify medical

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Debtor 1 Holly Ann Longardner Case number (if known) 22-10065
4.2
0 Northeastern Center Last 4 digits of accountnumber 4587 $500.00
Nonpriority Creditor's Name
P.O. Box 817 When was the debt incurred? 2021
Kendallville, IN 46755
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
MI bebtor 1 only Oo Contingent
O Debtor 2 only Oo Unliquidated
[J Debtor 1 and Debtor 2 only 0 Disputed
(C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is for a community C1 Student toans
debt QO Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
i No Oo Debts to pension or profit-sharing plans, and other similar debts
[I Yes MI other. Specify medical
4.2 .
4 Parkview Health Last 4 digits of accountnumber 2395 ee $7,080.00.
Nonpriority Creditor's Name
PO Box 10416 When was the debt incurred? 2020
Des Moines, IA 50306
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only 0 Contingent
C1 Debtor 2 only Di unliquidated
C1 Debtor 1 and Debtor 2 only CI disputed
0 Atleast one of the debtors and another Type of NONPRIORITY unsecured claim:
O check if this claim is for a community C1) student loans
debt obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino 0 debts to pension or profit-sharing plans, and other similar debts
O Yes MI other. Specify medical
4.2 . os
9 Parkview Health Physicians Last 4 digits of account number ____ $490.00
Nonpriority Creditor's Name
clo Helvey & Associates When was the debt incurred? 2021
1015 E Center St
Warsaw, IN 46580
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
Wi pebtor 1 only oO Contingent
C1 Debtor 2 only Ci unliquidated
CO Debtor 1 and Debtor 2 only Oo Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C Check ifthis claim is fora community C1 student loans
debt C1 obligations arising out of a separation agreement or divorce that you did not
9
Is the claim subject to offset? report as priority claims
a No C1 Debts to pension or profit-sharing plans, and other similar debts
CQ Yes - Ml other. Specify medical
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Case number (if known) 22-10065

 

 

 

 

 

 

 

 

 

 

 

 

 

4.2 . .
3 Parkview Noble Hospital Last 4 digits of account number ___ $1,000.00
Nonpriority Creditor's Name
PO box 14519 When was the debt incurred? 2021
Des Moines, IA 50306
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
ME Debtor 4 only D1 contingent
0 Debtor 2 only 0 Unliquidated
CO Debtor 1 and Debtor 2 only Oo Disputed
CJ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
i No oO Debts to pension or profit-sharing plans, and other similar debts
O Yes MM other. Specify medical
4.2 . : .
4 Parkview Regional Medical Last 4 digits of account number _____ $0.00
Nonpriority Creditor's Name
11109 Parkview Plaza Dr. When was the debt incurred? 2021
Fort Wayne, IN 46825
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
debtor 41 only CO Contingent
0 Debtor 2 only oO Unliquidated
CZ Debtor 1 and Debtor 2 only O Disputed
DZ Atteast one of the debtors and another Type of NONPRIORITY unsecured claim:
C1 Check if this claim is fora community C1 student loans
debt B Obligations arising out of a separation agreement or divorce that you did not
\s the claim subject to offset? report as priority claims
Hino OD Debts to pension or profit-sharing plans, and other similar debts
1 Yes I other. Specify Medical
4.2 . . $0 00
5 Professional Account Services Last 4 digits of account number 5546 :

 

 

Nonpriority Creditor's Name
PO box 188
Brentwood, TN 37024

 

Number Street City State Zip Code
Who incurred the debt? Check one.

HE pebtor 1 only

LD Debtor 2 only

C Debtor 4 and Debtor 2 only

11 At least one of the debtors and another

C1 Check if this claim is for a community
debt

Is the claim subject to offset?
Hino

0 Yes

When was the debt incurred? 2021

 

As of the date you file, the claim is: Check all that apply

CO contingent
D unliquidated

CZ disputed
Type of NONPRIORITY unsecured claim:

C student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

DO Debts to pension or profit-sharing plans, and other similar debts

Ml other. Specify collection

 

 

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Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Debtor 1 Holly Ann Longardner 22-10065
4.2 : oe
6 Professional Emergency Physicians —_Last 4 digits of account number 8809 ___ $1,600.00
Nonpriority Creditor's Name :
608 Union Chapel Rd When was the debt incurred? 2021
Fort Wayne, IN 46845
Number Street City State Zip Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a Debtor 1 only oO Contingent
Z Debtor 2 only O Unliquidated
CZ) Debtor 1 and Debtor 2 only 0 Disputed
C1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CI Check if this claim is for a community C1 student loans
debt CZ obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
a No CT debts to pension or profit-sharing plans, and other similar debts
Cl Yes I other. Specify medical
4.2 . . sree
7 Professional Medical Billing Last 4 digits of account number «$0.00
Nonpriority Creditor's Name
7619 W Jefferson Blvd When was the debt incurred? 2022
Fort Wayne, IN 46804
Number Street City State Zip Code As of the date you file, the claim is: Check ali that apply
Who incurred the debt? Check one.
ME Debtor 1 only O Contingent
D1 debtor 2 only CO Untiquidatea
C1 Debtor 1 and Debtor 2 only oO Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
CO check if this claim is fora community C1 Student loans
debt CD obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
HNno C1 Debts to pension or profit-sharing plans, and other similar debts
0 yes MH other. specify collection
4.2 .
8 QHG of Ft. Wayne Co. LLC/RediMed —_Last 4digits of account number 2969 $150.00
Nonpriority Creditor's Name
15897 Collection Cntr Dr When was the debt incurred? 2021

Chicago, IL 60693
Number Street City State Zip Code

Who incurred the debt? Check one.

a Debtor 1 only

CJ Debtor 2 only

C1 Debtor 4 and Debtor 2 only

O Atteast one of the debtors and another

C Check if this claim is for a: community
debt

Is the claim subject to offset?
No
O yes

 

As of the date you file, the claim is: Check all that apply

oO Contingent :
CO unliquidated

C1 Disputed
Type of NONPRIORITY unsecured claim:
CO student loans

oO Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

CO Debts to pension or profit-sharing plans, and other similar debts

MM other. Specify medical

 

 

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Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 Holly Ann Longardner

 

 

 

9 Shop Your Way MC
Nonpriority Creditor's Name
P.O. Box 9001104

Louisville, KY 40290
Number Street City State Zip Code

Who incurred the debt? Check one.

 

HF debtor 1 only

D1 Debtor 2 only

Ci pebtor 1 and Debtor 2 only

C1 At least one of the debtors and another

U1 Check if this claim is for a community
debt

Is the claim subject to offset?
Mi No
0 Yes

Case number (if known) 22-10065

 

Last 4 digits of accountnumber 0343 $600.00

When was the debt incurred? 2016-2021

 

As of the date you file, the claim is: Check all that apply

oO Contingent
C1 Untiquidated

CO disputed
Type of NONPRIORITY unsecured claim:
DO student loans

Oo Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

C1 pebts to pension or profit-sharing plans, and other similar debts

MH other. Specify credit card

 

 

 

0 Snow & Sauerteig LLP
Nonpriority Creditor's Name
203 East Berry St., #1100

Fort Wayne, IN 46802
Number Street City State Zip Code

Who incurred the debt? Check one.

 

 

 

MM Debtor 1 only

C1 Debtor 2 only

(CJ Debtor 1 and Debtor 2 only

[1 At teast one of the debtors and another

C1 Check if this claim is fora community

Last 4 digits of accountnumber 6719 $0.00

When was the debt incurred? 2021

 

As of the date you file, the claim is: Check all that apply

O Contingent
DO unliquidated

C] Disputed
Type of NONPRIORITY unsecured claim:

C1 student loans

 

 

 

 

 

 

 

 

 

 

debt Do Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
MNo 0 Debts to pension or profit-sharing plans, and other similar debts
C1] Yes HH other. Specify collection

4.3 . . .

1 Summit Pain Management Last 4 digits of account number 9444 __ $350.00
Nonpriority Creditor's Name
PO Box 670 When was the debt incurred? 2021
Huntertown, IN 46748
Number Street City State Zip.Code As of the date you file, the claim is: Check all that apply
Who incurred the debt? Check one.
a” Debtor 1 only oO Contingent
CJ Debtor 2 only CO unliquidated
C1 Debtor 1 and Debtor 2 only C1 Disputed
1 At least one of the debtors and another Type of NONPRIORITY unsecured claim:
O Check if this claim is fora community C1 Student loans
debt Oo Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
no C1 Debts to pension or profit-sharing plans, and other similar debts
0 Yes MH other. Specify medical

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Debtor 1 Holly Ann Longardner Case number (if known) 22-10065
4.3 . .
2 Summit Radiology PC Last 4 digits of accountnumber SIfw _ $200.00
Nonpriority Creditor's Name
7900 West Jefferson Blvd. When was the debt incurred? 2021
Fort Wayne, IN 46804
Number Street City State Zip Code As of the date you file, the claim is: Check ail that apply
Who incurred the debt? Check one.
M pebtor 1 only. oO Contingent
C1 Debtor 2 only OD unliquidated
C1 Debtor 1 and Debtor 2 only oO Disputed
CZ At least one of the debtors and another Type of NONPRIORITY unsecured claim:
(CI Check if this claim is for a community CI Student loans
debt o Obligations arising out of a separation agreement or divorce that you did not
Is the claim subject to offset? report as priority claims
Mino CZ Debs to pension or profit-sharing plans, and other similar debts
C1 Yes MH other. Specify medical
4.3 .
3 Total Recovery Services Last 4 digits of account number 9995 $0.00

 

 

Nonpriority Creditor's Name
11623 Coldwater Road, #103
Fort Wayne, IN 46825

 

Number Street City State Zip Code
Who incurred the debt? Check one.

@ pedtor 1 only

oO Debtor 2 only

C1 Debtor 1 and Debtor 2 only

[1] At least one of the debtors and another

OD Check if this claim is for a community
debt

Is the claim subject to offset?
HNo
Yes

When was the debt incurred?

2022

 

As of the date you file, the claim is: Check all that apply

O contingent
D1 unliquidated

CO Disputed
Type of NONPRIORITY unsecured claim:

CI student loans

O Obligations arising out of a separation agreement or divorce that you did not
report as priority claims

OD Debts to pension or profit-sharing plans, and other similar debts

WI other. Specify collection

 

 

List Others to Be Notified About a Debt That You Already Listed

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical re

type of unsecured claim.

 

 

 

 

 

TotalClaim
Cee 6a. Domestic support obligations 6a. 0.00
‘Total
claims |<
from Part 1 © 6b. Taxes and certain other debts you owe the government 6b. $ 0.00
: s 6c. Claims for death or personal injury while you were intoxicated 6c. $ 0.00
6d. Other. Add ail other priority unsecured claims. Write that amount here. 6d. $ 0.00
6e. Total Priority. Add lines 6a through 6d. 6e. $ 0.00
= 2 TotalClaim=
Ane 6f. Student loans 6f. $ 0.00
‘Total
“claims
from Patt 2. 6g. Obligations arising out of a separation agreement or divorce that 0.00
ee you did not report as priority claims 6g. _$ .
6h. Debts to pension or profit-sharing plans, and other similar debts 6h. $ 0.00
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims

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porting purposes only. 28 U.S.C. §159. Add the amounts for each

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Debtor 1 Holly Ann Longardner Case number (if known) 22-10065
6i. Other. Add all other nonpriority unsecured claims. Write that amount 6i. $ 25 546.00
here. I
6j. Total Nonpriority. Add lines 6f through 6i. : gj. $ 25,546.00
Official Form 106 E/F Schedule E/F: Creditors Who Have Unsecured Claims Page 14 of 14

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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA
FORT WAYNE DIVISION
In Re: Holly Longardner Case No: 22-10065
Petitioner(s) Chapter 7

Judge Robert E. Grant

Amendment to Schedule F

|, Holly Longardner, debtor herein, have read the foregoing amendment and swear/affirm it is
true and correct to the best of my knowledge.

 

Date cal L. i aL 2a Date

Ripke Law PC

4705 Wlinois Road, Suite 101

Fort Wayne, IN 46804

Tel 260-434-1990 Fax 260-434-1988
